Case 3:11-cr-00010-CRS Document 246 Filed 02/02/12 Page 1 of 7 PageID #: 1112




                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE


UNITED STATES OF AMERICA                                                               PLAINTIFF


v.                                                       CRIMINAL ACTION NO. 3:11CR-10-S


ALFREDO CARRILLO-ALVARADO
JUAN LANDEROS-SANDOVAR
LUIS SALCIDO-GUZMAN
ARTURO MONTERO                                                                     DEFENDANTS


                         MEMORANDUM OPINION AND ORDER


       The United States Magistrate Judge held a number of evidentiary hearings and issued

Findings of Fact, Conclusions of Law, and Recommendations (“reports”) concluding that various

motions to suppress evidence should be denied. For the reasons set forth below, the objections to

the findings of the magistrate judge will be rejected, the reports will be accepted and adopted, and

the motions to suppress evidence will be denied.

       The magistrate judge issued 3 reports:

       DN 220 addressing the motions to suppress evidence filed by Juan Landeros-
       Sandovar (DN 104) and Alfredo Carrillo-Alvarado (DN 90);

       DN 222 addressing the motion to suppress evidence filed by Luis Salcido-Guzman
       (DN 130);

       DN 223 addressing the motion to suppress evidence filed by Arturo Montero (DN
       172).
Case 3:11-cr-00010-CRS Document 246 Filed 02/02/12 Page 2 of 7 PageID #: 1113




          To briefly summarize,1 the premises of 1214 Outer Loop had been under investigation since

2009. The body shop on the property was suspected of operating a “chop shop” for stolen vehicles

and providing a location for drug trafficking activities. A tip was received by Officer Eric Culver

at approximately 7:00 p.m. on December 15, 2010. Various officers were called in to assist with the

interception of a semi-trailer load of drugs said by a confidential informant to be arriving at the

Outer Loop location on that evening. It was anticipated that the load would be divided up and

moved from the location quickly.

          1214 Outer Loop is located on the south side of, and immediately adjacent to the Outer Loop,

an east-west highway. The property itself is bounded on three sides by a chain link fences and on

the fourth side by a drainage ditch. The only means of ingress and egress was one side road, which

also provided access to a number of other businesses. This road was two to three blocks long. By

this time in the evening, no other businesses which utilized the road were open. As there was wintry

weather that night, there was little traffic on surrounding roads. While driving over an elevated

portion of the Outer Loop and looking down onto 1214 Outer Loop, Detective James observed a

number of vehicles and a semi-trailer on the property.

          Upon organizing law enforcement personnel at a designated staging area, one officer (Lee)

took up surveillance at a concealed vantage point. He observed a semi-trailer matching the

description given by the confidential informant, and a forklift being used to offload heavy pallets




          1
           To the extent that the summary is inconsistent in any way with specific findings of fact made by the magistrate judge, the
magistrate judge’s findings control. This court has attempted to offer an overview of the events, in order to provide context for review
of the defendants’ objections. With the exception of Montero, the objections do not challenge specific factual findings, but rather
challenge the conclusion that these facts established reasonable suspicion for the investigative stops. Montero urges that Detective
James’ testimony was not credible. This argument was raised by Montero and rejected by the magistrate judge. The magistrate
judge’s findings of fact are given deference, and we have been shown no ground to question them.

                                                                 -2-
Case 3:11-cr-00010-CRS Document 246 Filed 02/02/12 Page 3 of 7 PageID #: 1114




or heavy items. Lee could not identify the cargo being unloaded nor could he see the vehicles into

which the containers were placed.

          Detective Culver left to obtain search warrants for the premises and a S.W.A.T. team was

assembled at a second staging area in preparation to execute them. But at approximately 9:30 p.m.

a convoy of vehicles began leaving the premises. There were five vehicles in all, leaving via the

otherwise deserted access road. There were two white cargo vans, a gray Honda Odyssey minivan,

a maroon Toyota minivan, and a white 4-door sedan. The vehicles split, with each white van

traveling in tandem with a minivan onto the main road and then onto the Gene Snyder Freeway, I-

265. Most of the vehicles were stopped a number of miles down the road. Large quantities of

marijuana were seized from the white vans, and the occupants of those vans and the gray and

maroon minivans which accompanied them were placed under arrest. The white sedan, however,

pulled away and was not stopped. We need not address the facts surrounding the vehicle searches

or the arrests. The magistrate judge has already made detailed factual findings concerning these

events.

          After these seizures and arrests but prior to the execution of the warrants, Detective Lee

observed and reported that a red Ford pick-up truck was “in motion.” Detective James returned to

the area and observed the red truck exit onto Outer Loop via the same side road used by the other

five vehicles. As with the other stops, he followed the truck for several miles, then conducted an

investigative stop. Montero and a passenger were arrested.

          The vehicle stops were conducted without warrants. The magistrate judge found, and the

court agrees, that the stop of each vehicle was made upon reasonable suspicion that criminal activity

was afoot and that the individuals in these vehicles were involved in such criminal activity.



                                                 -3-
Case 3:11-cr-00010-CRS Document 246 Filed 02/02/12 Page 4 of 7 PageID #: 1115




        At the time of the stops, Detective Culver was in the process of obtaining search warrants,

but did not have them in hand at the time vehicles began to leave the premises. The decision had

been made that, should such a situation arise, the vehicles would be stopped and the occupants

questioned.

        The affidavits produced in support of the subsequently-executed warrants were previously

upheld by this court over objections of unreliability and staleness. (DN 224). The background

information related in the affidavits concerning the ongoing nature of the investigation and the

suspected criminal activity at the body shop was relayed to the various officers (Keller, O’Toole,

James, Morgan, Lee, Schardein, Dennis, Braden, Jilek, Boenlein) involved in the events of that

evening. We need not revisit the precise information known to each individual officer, as the

magistrate judge’s reports carefully recount the manner in which each officer was apprised of some

or all of this historical information. The officers obtained additional information either through their

own observations or via continuously monitored radio transmissions from other officers as events

unfolded on December 15th beginning at approximately 7:00 p.m.

        Four suppression motions challenge the grounds for the vehicle stops. Defendant Guzman

was a passenger in one of the white cargo vans. That van was observed traveling in tandem with

the maroon minivan. Defendant Sandovar was driving the other white cargo van. This second white

van was seen traveling in tandem with the gray minivan which was driven by defendant Alvarado.

The red Ford pick-up truck was being driven by defendant Montero.

        The defendants2 object to the magistrate judge’s conclusions that the officers in question had

reasonable suspicion to conduct an investigatory stop of the vehicles in which they were traveling.


        2
            Sandovar, Alvarado, Guzman and Montero

                                                     -4-
Case 3:11-cr-00010-CRS Document 246 Filed 02/02/12 Page 5 of 7 PageID #: 1116




They note that there was no prior information identifying particular individuals or vehicles which

would be involved with the shipment of drugs. Additionally, Detective Lee could not see from his

surveillance location that the cargo which was being taken off the truck and loaded into vehicles was

a drug shipment. The defendants contend, therefore, that the driving of vehicles from the premises

on the evening of December 15th was seemingly innocent activity. However, in viewing the totality

of the circumstances, reasonable suspicion clearly arose to warrant investigatory stops of the

vehicles.

       The information known to the officers which provided reasonable suspicion that the

defendants were engaged in drug trafficking activity included (1) the prior investigative history of

which the officers had been made aware, (2) the observations of Detective Lee, communicated by

radio, that cargo was being off-loaded from a semi-trailer and broken up into smaller loads and

reloaded into cargo van, as specifically anticipated by the confidential informant, (3) the officers’

observations on the scene that five vehicles were leaving the premises after being loaded with the

semi-trailer’s cargo, split off, and began traveling in tandem; and (4) the officers’ prior experience

in investigating drug trafficking activity.

       The informant in this case had proven to be reliable. During the many months of

investigation into on-going activities at 1214 Outer Loop, detectives had been able to corroborate

much information provided to them by the informant, including patterns of activity on the premises,

as well as information concerning the individuals who owned and/or operated the business. Despite

the fact that surveillance revealed a high volume of traffic, it was determined in August of 2009 that

the owner of Yanci Auto Repair, Yanci Cruz-Lopez, had not reported any Kentucky income.




                                                -5-
Case 3:11-cr-00010-CRS Document 246 Filed 02/02/12 Page 6 of 7 PageID #: 1117




       Approximately three weeks prior to the events of December 15, detectives pursued a tip from

this informant that a load of drugs was going to arrive at 1214 Outer Loop. The officers saw activity

at the location, but a load was not discovered. Officers stopped a van which was leaving the

premises. A narcotics dogs alerted to the presence of drugs and there was a strong odor of marijuana

present, but the van was empty. The officers believed that they had missed the load.

       Additionally, the informant had provided information to Detective Culver in the past which

resulted in the identification of a number of individuals in another investigation.

       With respect to the information about the December 15 shipment, (1) While the officers did

not see the semi-trailer arrive at 1214 Outer Loop, a semi-trailer exactly matching the informant’s

description was observed at the location within hours of Detective Culver’s receipt of the tip; (2)

The cargo was not being taken into the garage as one might expect if it was cargo for the auto body

business; Rather, it was being off-loaded from the semi-trailer and directly reloaded into cargo vans;

(3) Despite the fact that it was after business hours and the weather was inclement, the cargo was

offloaded and removed from the premises immediately that evening; and (4) A convoy of vehicles

including two cargo vans departed from the property, the vans and the minivans traveling in tandem;

which indicated to the experienced officers that drugs were being moved.

       The officers possessed the collective knowledge and experience that

       (1) Often shipments of drugs are received and immediately broken into smaller
       quantities and removed from the arrival location to avoid detection, and

       (2) When transporting drugs, often vehicles travel in tandem so that one may act as
       a lookout or be available to assist if there is a problem during transportation.


       The departure of the group of five vehicles from a location at which a suspected drug

shipment had been observed was, alone, clearly suspicious. The observation that cargo vans had


                                                 -6-
Case 3:11-cr-00010-CRS Document 246 Filed 02/02/12 Page 7 of 7 PageID #: 1118




been loaded directly from a semi-trailer, and that the vans left immediately, traveling in tandem,

after business hours, on a wintry night made the activity even more suspect. The magistrate judge,

having looked at the totality of the circumstances from the point of view of each of the officers,

found that each officer making a stop had an objectively reasonable suspicion of criminal activity

at the time the stop was made. He thus concluded that the warrantless stops did not violate the

defendants’ Fourth Amendment rights, and recommended that the motions to suppress be denied.

This court finds no error in the magistrate judge’s reasoning and finds that the conclusions are fully

supported by the record evidence.

       Motions having been made and for the reasons set forth herein and the court being otherwise

sufficiently advised, IT IS HEREBY ORDERED AND ADJUDGED that the Findings of Fact,

Conclusions of Law, and Recommendations of the United States Magistrate Judge (Dns 220, 222,

223) are ACCEPTED AND ADOPTED IN THEIR ENTIRETY and the motions of the

defendants, Juan Landeros-Sandovar, Alfredo Carrillo-Alvarado, Luis Salcido-Guzman, and Arturo

Montero, to suppress evidence (Dns 90, 104, 130, 172) are DENIED.



IT IS SO ORDERED.



            February 2, 2012




                                                -7-
